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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                               MIDLAND/ODESSA DIVISION

UNITED FIRE & CASUALTY COMPANY,  §
           Plaintiff,            §
                                 §
v.                               §                            No. MO:17-CV-00023-RAJ
                                 §
KENT DISTRIBUTORS, INCORPORATED, §
          Defendant.             §

       ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       BEFORE THE COURT is Plaintiff and Counter-Defendant United Fire & Casualty

Company’s (“United Fire”) Motion for Summary Judgment Against Defendant and Counter-

Claimant Kent Distributors, Incorporated (“Kent”). (Doc. 9). After due consideration, United Fire’s

Motion for Summary Judgment shall be GRANTED.

                                       I.      BACKGROUND

       United Fire brings this action seeking a declaratory judgment that it has no duty to defend

and indemnify Kent from an underlying lawsuit in state court under the primary and excess insurance

policies that United Fire issued to Kent. (Doc. 1). United Fire issued a commercial general liability

policy, Policy No. CGL-60405920 (“CGL Policy”), and a commercial liability umbrella policy,

Policy No. CU-60405920 (“Umbrella Policy”) to Kent Distributors Inc. d/b/a Kent Kwik

Convenience Stores. (Doc. 10 at Exs. A & B). Both the CGL Policy and Umbrella Policy had a

policy period effective August 1, 2014, to August 1, 2015. (Id.).

       On August 5, 2016, Shlana Mitchell (“Mitchell”) filed her Original Petition and Request for

Disclosure against Kent in Cause No. CV52563 in the 238th Judicial District Court of Midland

County, Texas. (Doc. 10 at Ex. C). Mitchell was employed by Kent as a store clerk in Midland,

Texas. (Id.). While locking the store at closing time, Mitchell was allegedly attacked and sexually

assaulted by a co-employee of Kent. (Id.). Mitchell claims Kent negligently hired, retained, trained,

and supervised its employees, failed to identify the threat posed by the co-employee, failed to warn
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Mitchell of the threat, and failed to correct the dangerous condition. (Id.). As a proximate result of

Kent’s negligence, Mitchell claims she sustained personal injuries. (Id.).

       On January 31, 2017, United Fire filed its Original Complaint for Declaratory Judgment.

(Doc. 1). On January 31, 2017, Kent filed its Original Answer and Original Counterclaim. (Doc. 6).

Kent claims that United Fire’s CGL Policy and Umbrella Policy provide coverage for the claims

asserted against Kent in the Mitchell suit and brings counterclaims for declaratory judgment and

breach of policy against United Fire. (Id.). The Court has subject-matter jurisdiction predicated

upon diversity of citizenship and an amount in controversy in excess of $75,000, exclusive of interest

and costs. 28 U.S.C. § 1332.

       On August 23, 2017, United Fire filed its Motion for Summary Judgment. (Doc. 9). United

Fire asks the Court to (1) declare that United Fire does not have a duty to defend Kent in the

underlying suit; (2) declare that United Fire does not have a duty to indemnify Kent for any damages,

interest, or costs assessed against Kent in favor of Mitchell; (3) dismiss Kent’s counterclaims for

declaratory judgment and breach of policy; and (4) award United Fire all of its attorneys’ fees and

costs it has incurred in prosecuting this lawsuit and defending against Kent’s counterclaim. (Doc. 9).

On September 11, 2017, Kent filed its Response to the Motion for Summary Judgment. (Doc. 12).

On September 18, 2017, United Fire filed its Reply to Kent’s Response. (Doc. 13).

       On December 8, 2017, Mitchell filed her First Amended Petition in the underlying state court

action. (Doc. 14-1). On December 19, 2017, Kent filed its Supplemental Response to the Motion for

Summary Judgment. (Doc. 14). On December 26, 2017, United Fire filed its Second Reply Brief in

Support of Its Motion for Summary Judgment. (Doc. 15). Based on the allegations in the Amended

Petition, United Fire argues its Motion for Summary Judgment should be granted because the claims

asserted in the underlying lawsuit are unambiguously excluded by the Employer’s Liability, Texas

Abuse or Molestation, and Punitive or Exemplary Damages Exclusions in the primary and excess

insurance policies that United Fire issued to Kent. (Id.). This matter is now ready for disposition.
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                                      II.     LEGAL STANDARD

        Federal rules govern procedural requirements for a summary judgment motion filed in a

federal case, irrespective of the basis for the court’s jurisdiction. Doe v. Doe, 941 F.2d 280, 287 (5th

Cir. 1991). The purpose of summary judgment is to isolate and dispose of factually unsupported

claims or defenses. Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986). Summary judgment is

proper if the pleadings, the discovery and disclosure materials on file, and any affidavits “[show] that

there is no genuine issue as to any material fact and that the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A dispute about a material fact is genuine “if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The trial court must resolve all reasonable doubts in favor of

the party opposing the motion for summary judgment. Casey Enters., Inc. v. Am. Hardware Mut.

Ins. Co., 655 F.2d 598, 602 (5th Cir. 1981) (citations omitted). The substantive law identifies which

facts are material. Anderson, 477 U.S. at 248. The party moving for summary judgment has the

burden to show that there is no genuine issue of material fact and that it is entitled to judgment as a

matter of law. Id. at 247.

        If the movant bears the burden of proof on a claim or defense on which it is moving for

summary judgment, it must come forward with evidence that establishes “beyond peradventure all of

the essential elements of the claim or defense.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th

Cir. 1986). But if the nonmovant bears the burden of proof, the movant may discharge its burden by

showing that there is an absence of evidence to support the nonmovant’s case. Celotex, 477 U.S. at

325; Byers v. Dall. Morning News, Inc., 209 F.3d 419, 424 (5th Cir. 2000). Once the movant has

carried its burden, the nonmovant must “respond to the motion for summary judgment by setting

forth particular facts indicating there is a genuine issue for trial.” Byers, 209 F.3d at 424 (citing

Anderson, 477 U.S. at 248–49). The nonmovant must adduce affirmative evidence. Anderson, 477



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U.S. at 257. The Court need only consider the record materials actually cited by the parties, though

the Court may consider the entire record. Fed. R. Civ. P. 56(c)(3).

        Jurisdiction in this case is founded on diversity of citizenship, so Texas law governs the

interpretation of the insurance contracts at issue. Canutillo Indep. Sch. Dist. v. Nat’l Union Fire Ins.

Co., 99 F.3d 695, 700 (5th Cir. 1996). Under Texas law, when a court analyzes an insurance policy,

it is guided by the principles of contract construction. State Farm Lloyds v. Page, 315 S.W. 3d 525,

527 (Tex. 2010). The court’s primary goal is to determine the parties’ intent by focusing on the

language within the four corners of the written agreement. Id. The court “must read all parts of the

contract together, giving effect to each word, clause, and sentence, and avoid making any provision

within the policy inoperative.” Id. (citing State Farm Life Ins. Co. v. Beaston, 907 S.W.2d 430, 433

(Tex. 1995); Forbau v. Aetna Life Ins. Co., 876 S.W.2d 132, 133 (Tex. 1994)). A court “must be

particularly wary of isolating from its surroundings or considering apart from other provisions a

single phrase, sentence, or section of a contract.” Beaston, 907 S.W.2d at 433.

        The issue of whether a contract contains an ambiguity is a question of law. Page, 315

S.W.3d at 527. The parties’ disagreement about the policy’s meaning does not create an ambiguity.

Id. Rather, a policy is ambiguous when it is subject to more than one reasonable interpretation. Id.

“[A]mbiguity must be evident from the policy itself; it cannot be created by introducing evidence of

intent.” Fiess v. State Farm Lloyds, 202 S.W.3d 744, 746 (Tex. 2006).

        A court should enforce an unambiguous contract as written.             Heritage Res., Inc. v.

NationsBank, 939 S.W.2d 118, 121 (Tex. 1996). An unambiguous contract should be construed

according to the plain meaning of its express wording. Lyons v. Montgomery, 701 S.W.2d 641, 643

(Tex. 1985). “When the terms of an insurance policy are unambiguous. . . a court may not vary those

terms.” Amica Mut. Ins. Co. v. Moak, 55 F.3d 1093, 1095 (5th Cir. 1995) (citing Royal Indem. Co. v.

Marshall, 388 S.W.2d 176, 181 (Tex. 1965)).



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                                          III.    DISCUSSION

        The primary issue in the pending Motion for Summary Judgment is whether the United Fire

CGL Policy and Umbrella Policy require United Fire to defend Kent in a separate suit between

Mitchell and Kent. This issue requires the Court to determine whether the Employer’s Liability,

Texas Abuse or Molestation, and Punitive or Exemplary Damages Exclusions in the primary and

excess insurance policies exclude coverage. For the reasons discussed below, the Court determines

that United Fire does not have a duty to defend or indemnify Kent in the underlying lawsuit.

Accordingly, United Fire’s Motion for Summary Judgment shall be GRANTED. (Doc. 9).

A.      Duty to Defend

        United Fire seeks a declaration that it does not have a duty to defend Kent in the Mitchell

lawsuit. Under Texas law, an insurer’s duty to defend is determined by the “eight corners” rule,

which focuses on the language in the insurance policy and a “‘liberal’ construction of the allegations

[in the lawsuit] against the insured, that if true, potentially state a cause of action covered by the

policy.” Am. Home Assurance Co. v. United Space Alliance, LLC, 378 F.3d 482, 487 (5th Cir.

2004); Zurich Am. Ins. Co. v. Nokia, Inc., 268 S.W.3d 487, 491 (Tex. 2008) (“an insurer’s duty to

defend is determined by the third-party plaintiff’s pleadings, considered in light of the policy’s

provisions, without regard to the truth or falsity of those allegations”) (internal quotation marks

omitted). A court should first identify the relevant allegations in the four corners of the pleading in

the underlying lawsuit against the insured. VRV Dev. L.P. v. Mid-Continent Cas. Co., 630 F.3d 451,

457 (5th Cir. 2011).

        “[T]he court must focus on the factual allegations that show the origin of the damages rather

than the legal theories advanced.” Id. at 456. Then, the Court should determine whether those

allegations, if true, support a claim for coverage under the insurance policy. Id. at 456–57. “All

doubts regarding the duty to defend are resolved in favor of the insured.” Id. at 456. The insured has

the initial burden to establish that there is coverage under the policy. Guar. Nat’l Ins. Co. v. Vic Mfg.
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Co., 143 F.3d 192, 193 (5th Cir. 1998).        Then, the burden shifts to the insurer to prove the

applicability of any exclusions to the policy. Id. If the insurer satisfies this burden, then the insured

has the burden to show that its claim falls within an exception to the exclusion. Id.

        Here, neither party argues that the insurance policies at issue are ambiguous, so they should

be enforced as written. Heritage Res., Inc., 939 S.W.2d a 121. The first step under the eight corners

rule is to identify the factual allegations—rather than the legal theories advanced—in the underlying

suit against the insured. VRV Dev. L.P., 630 F.3d at 457. The focus is on the origin of the damages

asserted. Id. at 456.

        In Mitchell’s First Amended Petition she states that whenever “in this petition it is alleged

that [Kent] committed any act or omission, it is meant that [Kent’s] officers, directors, vice-

principals, members, managers, general partners, agents, servants, and/or employees committed such

act or omission and that, at the time such act or omission was committed, it was done with the full

authorization, ratification, or approval of [Kent] or was done in the routine and normal course and

scope of employment of [Kent’s] officers, directors, vice-principals, members, managers, general

partners, agents, servants, and/or employees.” (Doc. 14-1 at 3). On August 13, 2014, Mitchell

alleges she was employed by Kent as a store clerk working at Kent Kwik #309 located at 4701

Briarwood Avenue, Midland, Midland County, Texas 79707. (Id.). While alone locking the store at

closing time, Mitchell claims she “was attacked and sexually assaulted by a co-employee of [Kent]

who was employed at a different location.”         (Id. at 3–4).   According to Mitchell, Kent “had

knowledge of the dangerous nature of the attacker well before the incident occurred.” (Id. at 4).

        Furthermore, Mitchell asserts that Kent was “not a subscriber to worker’s compensation

insurance.” (Id.). At the time of the incident, Mitchell claims Kent was negligent in one or more of

the following respects:

        1. Failing to provide security gates/fencing around its premises to protect Mitchell from
           easy intrusion by criminals;
        2. Failing to provide security guards on its premises to protect Mitchell from criminals;
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        3. Failing to provide security cameras to deter criminal activity on its premises;
        4. Failing to provide adequate lighting on the premises to deter criminal activity;
        5. Failing to use ordinary care to protect against an unreasonable and foreseeable risk of
           harm from the criminal acts of third parties;
        6. Failing to take reasonable steps to protect against criminal activity of third parties;
        7. Failing to assess the risk of criminal activity on its property and to take adequate safety
           measures to protect persons such as Mitchell, or to warn of the dangerous conditions;
        8. Failing to warn Mitchell of the potential danger on the business premises.

(Id.). According to Mitchell, each of the foregoing acts, alone or in combination with the others,

constitutes negligence and a violation of Kent’s duty of care to Mitchell, which proximately caused

the occurrence in question, and Mitchell’s damages. (Id.).

        In addition, Mitchell claims “[a]t the time of the incident, [Kent] was aware or should have

been aware of the dangerous nature of the co-employee that sexually assaulted [Mitchell] and that the

conditions as they existed for [Mitchell] to work alone were unsafe.” (Id.). Mitchell alleges that

Kent “did not follow safe practices and procedures to prevent the type of injuries which [Mitchell]

sustained.” (Id. at 4–5). Mitchell asserts that Kent “knew or should have known that [Mitchell]

working and closing the store alone singularly or in combination with other factors created

unreasonably dangerous conditions prior to the incident.” (Id. at 5). Importantly, Mitchell alleges

that Kent and its “respective authorized agents, servants, and employees were acting in the course

and scope of their employment and were guilty of general negligence, negligence per se, and gross

negligence toward” Mitchell. (Id.). Specifically, Mitchell claims Kent owed her “a non-delegable

and/or ordinary duty of reasonable care, including but not limited to provide [Mitchell] with a safe

place to work and to maintain safe practices, and that [Kent] breached such duties and was negligent

through its acts and omissions[.]” (Id.).

        Kent’s counterclaims for breach of policy and declaratory judgment against United Fire are

based on United Fire’s failure to defend Kent in regard to Mitchell’s lawsuit against Kent. Mitchell

alleges that she suffered physical pain and suffering, mental anguish, and physical impairment as a

result of a sexual assault by a co-employee of Kent that occurred in the course of Mitchell’s


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employment with Kent. (Doc. 14-1). Accordingly, the factual allegations and the origin of the

damages asserted in Mitchell’s lawsuit against Kent arise from bodily injury Mitchell sustained in the

course of her employment by Kent while performing duties for Kent.

        1.        Employer’s Liability Exclusion

        United Fire argues that the Employer’s Liability Exclusion in United Fire’s policies excludes

coverage for the allegations against Kent in Mitchell’s Amended Petition. The Employer’s Liability

Exclusion in United Fire’s Policies states that insurance coverage does not apply to:

                  Employer’s Liability
                  “Bodily injury” to:
                  (1)    An “employee” of the insured arising out of and in the course of:
                         (a)     Employment by the insured; or
                         (b)     Performing duties related to the conduct of the insured’s
                                 business[.]

(Doc. 10 at Exs. A & B). United Fire’s CGL Policy defines “bodily injury” as follows:

        “Bodily injury” means bodily injury, sickness or disease sustained by a person,
        including death resulting from any of these at any time.

(Id. at Ex. A). United Fire’s Umbrella Policy contains a similar definition of “bodily injury” to the

one contained in the CGL Policy:

        “Bodily injury” means bodily injury, disability, sickness or disease sustained by a
        person, including death resulting from any of these at any time. “Bodily injury”
        includes mental anguish or other mental injury resulting from “bodily injury.”

(Id. at Ex. B).

        The Court finds there is no genuine dispute of material fact that Mitchell’s Amended Petition

alleges facts falling squarely within the Employer’s Liability Exclusion in United Fire’s Policies.

Mitchell’s Amended Petition reiterates all of the factual allegations set forth in her Original Petition,

including: (1) the alleged sexual assault caused Mitchell physical pain and suffering, mental anguish,

and physical impairment; (2) Mitchell was an employee of Kent at the time she was sexually

assaulted; and (3) Mitchell was attacked and sexually assaulted by a co-employee of Kent while

alone locking the store at closing time. (Id.).        The Court finds that the Employer’s Liability
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Exclusion in the policies excludes coverage for the alleged claims or causes of action against Kent in

Mitchell’s Amended Petition. Specifically, United Fire has no duty to defend Kent in the underlying

lawsuit because the Employer’s Liability Exclusion excludes coverage for the “bodily injury,” which

Mitchell alleges she sustained in the course of her employment by Kent while performing duties for

Kent.

        2.       Texas Abuse or Molestation Exclusion

        In addition, the Texas Abuse or Molestation Exclusion in United Fire’s policies states in

relevant part:

        This insurance does not apply to “bodily injury”. . . arising out of:
        1.      The actual or threatened abuse or molestation by anyone of any person while
                in the care, custody, or control of any insured, or
        2.      The negligent:
                a.      Employment;
                b.      Investigation;
                c.      Supervision; or. . .
                e.      Retention;
                of a person for who any insured is or ever was legally responsible and whose
                conduct would be excluded by Paragraph 1. above.

                 For the purposes of this endorsement, abuse means an act which is committed
                 with the intent to cause harm.

(Doc. 10 at Exs. A & B).

        Mitchell’s Amended Petition alleges that Kent was sexually assaulted by a co-worker while

Mitchell was employed by Kent and performing duties in the course and scope of her employment.

(Doc. 14-1).       In addition, the Amended Petition claims Kent was negligent in employment,

investigation, supervision and retention of the co-employee who allegedly sexually abused and

molested Mitchell. (Id.). Specifically, Mitchell states Kent was negligent in employing a dangerous

person, failing to take action concerning the dangerousness of its employees, failing to provide

adequate supervision, and failing to terminate the dangerous employee and prevent his entry onto the

premises. (Id.).



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        The Court finds that Mitchell was under the control of Kent at the time of the alleged sexual

assault. The policies do not define the term “control,” and therefore, the Court must interpret the

term in accordance with its generally accepted or commonly understood meaning. Mid–Continent

Cas. Co. v. Brock, No. 10–20726, 2011 WL 4807715, at *2 (5th Cir. Oct. 11, 2011). Texas courts

have held that “control” means the “power or authority to manage, direct, govern, administer or

oversee.” See Am. Fidelity & Cas. Co. v. Traders & General Ins. Co., 334 S.W.2d 772, 775 (Tex.

1959); H. C. Price Co. v. Compass Ins. Co., 483 F. Supp. 171, 175 (5th Cir. 1980).

        Mitchell’s petition alleges that she was employed by Kent as a store clerk, and while alone

locking the store at closing time, she was attacked and sexually assaulted by a co-employee of Kent.

(Doc. 14-1). At the time of the alleged sexual assault, Mitchell was in the care, custody or control of

Kent because she was locking the store at closing time as directed to do by her employer, Kent.

There are no allegations to indicate that Mitchell had any discretion as to whether she could leave the

store unlocked at closing time. Moreover, with respect to Mitchell’s co-employee, Mitchell alleges

in her Amended Petition that Kent and its “respective authorized agents, servants, and employees

were acting in the course and scope of their employment[.]” (Doc. 14-1 at 5). Therefore, there is no

genuine dispute of material fact that Mitchell alleges she and the co-employee were under the control

of Kent at the time of the purported sexual assault.

        Kent contends that the Texas Abuse or Molestation Exclusion does not preclude a duty to

defend because Mitchell’s petition does not allege “abuse,” “molestation,” or “intent.” (Doc. 12 at

5). “Abuse” is defined in the policies to mean “an act which is committed with the intent to cause

harm.” (Doc. 10 at Exs. A & B). Again, the Court must interpret the undefined terms in accordance

with their generally accepted or commonly understood meaning. Mid–Continent Cas. Co., 2011 WL

4807715, at *2. A generally-accepted legal definition of “molest” is “to annoy, disturb or persecute




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especially with hostile intent or injurious effect” or “to make annoying sexual advances. . . to force

physical and usually sexual contact[.]”1

        Mitchell alleges she sustained personal injuries including physical pain and suffering and

physical impairment as the result of a sexual assault by her co-employee in the course of her

employment with Kent. (Doc. 14-1). There is no genuine issue of material fact that Mitchell alleges

a co-employee’s intent to cause harm, unwanted sexual advances, and forced physical or sexual

contact, which meet the definition of abuse or molestation. As such, the Amended Petition alleges

Mitchell was abused or molested while Mitchell was under the control of her employer, Kent.

Therefore, the factual allegations of Mitchell’s Amended Petition establish the applicability of the

Texas Abuse or Molestation Exclusion and preclude United Fire from having any duty to defend

Kent in the Mitchell lawsuit.

        3.      New Claims Asserted in Mitchell’s Amended Petition

        While Paragraph V. of the Amended Petition adds new allegations pertaining to Kent’s duties

with respect to premises liability, these allegations do not prevent the application of the Employer’s

Liability or Texas Abuse or Molestation Exclusions.             Significantly, the Employer’s Liability

Exclusion excludes all bodily injury to Mitchell arising out of the course of her employment by Kent

or the performance of her duties related to Kent’s business, regardless of the specific acts or

omissions that caused the injury. Likewise, the Texas Abuse or Molestation Exclusion excludes all

of Mitchell’s bodily injury sustained as a result of alleged abuse or molestation while under the

control of Kent, regardless of the specific nature of Kent’s acts or omissions.

        Whether Mitchell’s bodily injury and damages resulted from Kent’s negligence, work

conditions, premises liability, violations of the Texas Labor Code, or some other cause is irrelevant.

Mitchell alleges the damages and bodily injury she sustained arose out of and in the course of

1
 Molest, MERRIAM-WEBSTER.COM, http://www.merriam-webster.com/dictionary/molestation (last visited Jan. 16,
2018).

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employment with Kent and in performing duties for Kent. (Doc. 14-1). Therefore, as a matter of

law, United Fire has no duty to defend Kent from Mitchell’s lawsuit.

B.      Duty to Indemnify

        Next, United Fire seeks a declaration that it does not have a duty to indemnify Kent for any

damages against Kent in favor of Mitchell in the underlying state court lawsuit. (Doc. 9). “[T]he

duty to indemnify is justiciable before the insured’ liability is determined in the liability lawsuit when

the insurer has no duty to defend and the same reasons that negate a duty to defend likewise negate

any possibility the insurer will ever have a duty to indemnify.” Farmers Tex. Cty. Mut. Ins. Co. v.

Griffin, 955 S.W.2d 81, 84 (Tex. 1997). Here, the Court finds that the factual allegations in the

Amended Petition triggering the application of the Employer’s Liability and Texas Abuse or

Molestation Exclusions also preclude a duty to indemnify. If Mitchell proves she is an employee

who was injured and sustained damages when she was assaulted by her co-worker, then she can

recover damages from Kent but United Fire will have no duty to indemnify as a result of the

Employer’s Liability and Texas Abuse or Molestation Exclusions.

        Because there is no genuine dispute of material fact that Mitchell alleges she sustained bodily

injury while an employee of Kent in the course of her employment with Kent, the Employer’s

Liability Exclusion in United Fire’s policies precludes United Fire from having a duty to indemnify

Kent from any judgment Mitchell may obtain against Kent.               Likewise, the Texas Abuse or

Molestation Exclusion specifically excludes coverage for Mitchell’s bodily injury claims arising

from the alleged sexual assault in the course of her employment by Kent. Therefore, United Fire

does not owe Kent any duty to indemnify.

C.      Punitive or Exemplary Damages

        United Fire’s policies issued to Kent include a Punitive or Exemplary Damages Exclusion

which states in relevant part that “[r]egardless of any other provision of this policy, this policy does

not apply to punitive or exemplary damages.” (Doc. 10 at Ex. A). Mitchell’s Amended Petition
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prays “for all of the damages alleged, including exemplary damages[.]” (Doc. 14-1). There is no

genuine dispute of material fact that Mitchell seeks exemplary damages from Kent and such a

demand is excluded by the Punitive or Exemplary Damages Exclusion in United Fire’s policies.

Therefore, as a matter of law, United Fire is entitled to summary judgment that it owes Kent no duty

to defend or indemnify from any judgment for punitive or exemplary damages.

D.     Kent’s Counterclaims

       Kent brings a counterclaim for breach of policy resulting from United Fire’s failure to defend

and indemnify Kent in the Mitchell lawsuit in violation of the CGL Policy and Umbrella Policy. In

addition, Kent seeks a declaratory judgment that United Fire has a duty to defend and indemnify

Kent to the extent of any recovery by Mitchell. Here, there is no evidence to support Kent’s

counterclaims because, as discussed above, United Fire has no duty to defend or indemnify Kent in

the underlying lawsuit. Kent has no evidence of breach, causation, and injury to support its claim for

breach of policy because United Fire’s policies do not provide coverage for Mitchell’s allegations

against Kent. Because Kent’s counterclaims for breach of policy and declaratory judgment are

premised on United Fire’s alleged wrongful denial of coverage, the Court holds that there is no

genuine dispute with respect to these counterclaims. Therefore, the Court GRANTS United Fire’s

Motion for Summary Judgment and DISMISSES Kent’s counterclaims. (Doc. 9).

                                        IV.     CONCLUSION

       In sum, United Fire does not have a duty to defend Kent in the Mitchell lawsuit as a result of

the Employer’s Liability Exclusion and the Texas Abuse or Molestation Exclusion in the policies at

issue. Likewise, Kent failed to meet its burden of raising a genuine dispute of material fact with

respect to United Fire’s alleged duty to indemnify Kent in the underlying lawsuit. In addition,

United Fire is entitled to summary judgment that it owes Kent no duty to defend or indemnify Kent

from any judgment for punitive or exemplary damages as a result of the Punitive or Exemplary

Damages Exclusion in policies. Finally, there is no evidence to support Kent’s counterclaims for
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breach of policy and declaratory judgment. For these reasons, the Court GRANTS United Fire’s

Motion for Summary Judgment and DECLARES that United Fire does not have a duty to defend or

indemnify Kent in the Mitchell lawsuit for any damages, interest, or costs assessed against Kent in

favor of Mitchell.

       It is therefore ORDERED that United Fire’s Motion for Summary Judgment is hereby

GRANTED. (Doc. 9). The Court DECLARES that United Fire & Casualty Company does not

have a duty to defend Kent Distributors Incorporated in the Mitchell lawsuit, Cause No. CV52563 in

the 238th Judicial District Court of Midland County, Texas, and United Fire & Casualty Company

does not have a duty to indemnify Kent Distributors Incorporated for any damages, interest, or costs

assessed in favor of Shlana Mitchell.

       It is further ORDERED that Kent’s counterclaims for breach of policy and declaratory

judgment against United Fire are DISMISSED WITH PREJUDICE.

       It is so ORDERED.

       SIGNED this 17th day of January, 2018.




                                        ROBERT JUNELL
                                        SENIOR U.S. DISTRICT JUDGE




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